Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 1 of 9 PageID: 1
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 2 of 9 PageID: 2
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 3 of 9 PageID: 3
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 4 of 9 PageID: 4
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 5 of 9 PageID: 5
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 6 of 9 PageID: 6
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 7 of 9 PageID: 7
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 8 of 9 PageID: 8
Case 1:09-cv-05767-RBK-KMW Document 1 Filed 11/11/09 Page 9 of 9 PageID: 9
